Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 1 of 29




                  EXHIBIT C
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 2 of 29
        IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
        IRA KLEIMAN on 04/08/2019                                                 ·

  ·1· · · · · · · · UNITED STATES DISTRICT COURT

  ·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA

  ·3· · · · · · · · ·CASE NO. 9:18-cv-80176-BB/BR

  ·4
  · ·   ·IRA KLEIMAN, as the personal
  ·5·   ·representative of the Estate of
  · ·   ·David Kleiman, and W&K Info Defense
  ·6·   ·Research, LLC

  ·7
  · ·   · · · · · ·Plaintiffs,
  ·8
  · ·   ·-vs-
  ·9
  · ·   ·CRAIG WRIGHT
  10
  · ·   · · · · · ·Defendant.
  11

  12· ·* * * * * * * * * * * * * * * * * * *

  13· ·VIDEOTAPED DEPOSITION OF IRA KLEIMAN

  14· ·DATE TAKEN: April 8, 2019

  15· ·TIME: 10:10 - 2:55 p.m.

  16· ·PLACE:100 S.E. 2nd Street

  17· ·Miami, Florida 33131

  18
  · · ·TAKEN BEFORE: RICK E. LEVY, RPR, FPR
  19· · · · · · · · ·AND NOTARY PUBLIC

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  21· ·* * * * * * * * * * * * * * * * * * *

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Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 3 of 29
      IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
      IRA KLEIMAN on 04/08/2019                                                Page 47

  ·1· · · · Q.· ·Our analysis shows that two drives were
  ·2· ·formated and installed with Windows on November 10, 2013
  ·3· ·would that date be about right?
  ·4· · · · A.· ·Possibly, yes.
  ·5· · · · Q.· ·Did you purchase the Windows software
  ·6· ·installed on those drives?
  ·7· · · · A.· ·I don't remember.
  ·8· · · · Q.· ·You don't remember?
  ·9· · · · A.· ·(Indicating).
  10· · · · Q.· ·Would any -- do you have any documents like
  11· ·credit card receipts showing you purchased the Windows
  12· ·software?
  13· · · · A.· ·I don't know.
  14· · · · Q.· ·You don't know?
  15· · · · A.· ·Could have been a version of Windows that my
  16· ·brother had.
  17· · · · Q.· ·You also say that you threw out a bunch of
  18· ·Dave's work papers.· How much is a bunch?
  19· · · · A.· ·Just when I was cleaning out his house.                   I
  20· ·don't remember exactly how many.
  21· · · · Q.· ·When you threw these papers out was it the
  22· ·same day November 10th 2013 or November of 2013?
  23· · · · A.· ·No.· This was like shortly after he passed
  24· ·away when I was going through his house, going through
  25· ·his stuff.


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Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 4 of 29
      IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
      IRA KLEIMAN on 04/08/2019                                              Page 48

  ·1· · · · Q.· ·Did you keep any of the documents that he had,
  ·2· ·any of his work papers?
  ·3· · · · A.· ·I couldn't really find any like work papers.
  ·4· ·I only found things like related to the certificates
  ·5· ·that he earned like security related certificates.
  ·6· · · · Q.· ·You threw away his certificates?
  ·7· · · · A.· ·No, I'm saying I kept --
  ·8· · · · Q.· ·You kept those?
  ·9· · · · A.· ·Right.
  10· · · · Q.· ·When you say the working papers you threw away
  11· ·what are you referring to?
  12· · · · A.· ·Actually I'm not even sure they were work
  13· ·papers.· I guess they looked like things that didn't
  14· ·look relevant to keeping.
  15· · · · Q.· ·Did you read all the papers before you threw
  16· ·them away?
  17· · · · A.· ·Briefly.
  18· · · · Q.· ·So I guess none of it seemed important?
  19· · · · A.· ·Exactly.
  20· · · · Q.· ·Let me ask you.· If any of those documents had
  21· ·a random set of numbers and letters and just random
  22· ·gibberish you would haven't considered that important,
  23· ·would you?
  24· · · · · · ·MR. FREEDMAN:· Objection.
  25· · · · · · ·THE WITNESS:· I don't know.· I don't know.


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Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 5 of 29
      IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
      IRA KLEIMAN on 04/08/2019                                              Page 49

  ·1· ·BY MR. PASCHAL:
  ·2· · · · Q.· ·So what did you do to determine whether or not
  ·3· ·something was important?
  ·4· · · · A.· ·Just whatever I looked at -- I don't know
  ·5· ·specifically.· I mean like I was just going through
  ·6· ·papers quickly and if something looked like it was
  ·7· ·connected to him I would keep it.
  ·8· · · · Q.· ·Say the last part again, I couldn't hear you.
  ·9· · · · A.· ·If something looked like it was connected to
  10· ·him I would keep it.· Like certificates, things he
  11· ·earned, anything personal.
  12· · · · Q.· ·So --
  13· · · · A.· ·Like a lot of stuff I threw out could have
  14· ·just been like junk mail.· That was unimportant I didn't
  15· ·need to keep it.
  16· · · · Q.· ·How would you consider something junk mail?
  17· · · · A.· ·Like advertisement type stuff.
  18· · · · Q.· ·Let me just -- when you were formating or when
  19· ·you threw out the papers were you already the personal
  20· ·representative of the estate?· Let me rephrase that.· Do
  21· ·you know -- do you know that you were the personal
  22· ·representative of the estate when you --
  23· · · · A.· ·I'm not sure if I knew at that time.
  24· · · · Q.· ·Okay.
  25· · · · · · ·MR. FREEDMAN:· We've been going an hour.· Can


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Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 6 of 29
       IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
       IRA KLEIMAN on 04/08/2019                                             Page 50

  ·1· · · · we take a break?
  ·2· · · · · · ·MR. PASCHAL:· Can we --
  ·3· · · · · · ·MR. FREEDMAN:· If you have more questions go
  ·4· · · · ahead.
  ·5· · · · · · ·MR. PASCHAL:· Few more questions and then we
  ·6· · · · can take a break.
  ·7· ·BY MR. PASCHAL:
  ·8· · · · Q.· ·So you said if it was connected to Dave you
  ·9· ·would keep it.· So if something I'm just trying to
  10· ·figure out what the measurement that was.· If there was
  11· ·scribbling on papers would you just throw that away?
  12· · · · · · ·MR. FREEDMAN:· Objection.
  13· · · · · · ·THE WITNESS:· I don't know.· Possibly.
  14· ·BY MR. PASCHAL:
  15· · · · Q.· ·When did you become familiar with Bitcoin?
  16· · · · · · ·MR. FREEDMAN:· Do you think maybe we can take
  17· · · · a break here?· Sounds like you're going to a
  18· · · · different topic.
  19· · · · · · ·MR. PASCHAL:· Let's take a break.
  20· · · · · · ·THE VIDEOGRAPHER:· The time is 11:03 a.m. and
  21· · · · we're off the record.
  22· · · · · · ·(Thereupon, a brief recess was taken.)
  23· · · · · · ·THE VIDEOGRAPHER:· The time is now 11:17 a.m.
  24· · · · and we're back on the record.
  25


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Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 7 of 29
      IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
      IRA KLEIMAN on 04/08/2019                                              Page 51

  ·1· ·BY MR. PASCHAL:
  ·2· · · · Q.· ·Sorry.· Just briefly before we left off and
  ·3· ·earlier today.· I have some follow-up questions.· Did
  ·4· ·Dave live in Palm Beach Gardens?
  ·5· · · · A.· ·It might be officially called like Riviera
  ·6· ·Beach.
  ·7· · · · Q.· ·It's in the area, right?
  ·8· · · · A.· ·Yes.
  ·9· · · · Q.· ·Palm Beach County?
  10· · · · A.· ·Yes.
  11· · · · Q.· ·Last time you saw Dave was in 2009?
  12· · · · A.· ·Yes.
  13· · · · Q.· ·And you guys lived in the same county?
  14· · · · A.· ·Yes.
  15· · · · Q.· ·About how far apart did you guys live from
  16· ·each other?
  17· · · · A.· ·Five to ten minutes.
  18· · · · Q.· ·When we left off we were talking about on the
  19· ·e-mail where you formated and you said you formated
  20· ·threw out some of Dave's work papers so I think we were
  21· ·talking about the work papers.· Why were you throwing
  22· ·the papers away?
  23· · · · A.· ·Like I said it just looked like it was
  24· ·unimportant stuff.· Everyday stuff you get in the mail
  25· ·just advertisements, news clipping type and things.


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Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 8 of 29
      IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
      IRA KLEIMAN on 04/08/2019                                              Page 52

  ·1· · · · Q.· ·So if you go back to that e-mail in front of
  ·2· ·you you say that you were concerned that you made a
  ·3· ·mistake?
  ·4· · · · A.· ·Yes.
  ·5· · · · Q.· ·How were you concerned?
  ·6· · · · · · ·MR. FREEDMAN:· You said how or what?
  ·7· ·BY MR. PASCHAL:
  ·8· · · · Q.· ·Why?· Why were you concerned?
  ·9· · · · A.· ·What's that?
  10· · · · Q.· ·Why were you concerned?
  11· · · · A.· ·Because I had just discarded some of his
  12· ·stuff.
  13· · · · Q.· ·But you said the stuff you discarded was junk
  14· ·mail?
  15· · · · A.· ·Right.· And I was using his drives.
  16· · · · Q.· ·So you were concerned because you were using
  17· ·his drives, not because you threw out his work papers?
  18· · · · A.· ·No.· I was concerned about a little of
  19· ·everything.
  20· · · · Q.· ·But sitting here today you can't tell us the
  21· ·content of the papers that you threw out?
  22· · · · · · ·MR. FREEDMAN:· Objection.
  23· · · · · · ·THE WITNESS:· No.
  24· ·BY MR. PASCHAL:
  25· · · · Q.· ·But you were concerned that you were throwing


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Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 9 of 29
      IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
      IRA KLEIMAN on 04/08/2019                                              Page 76

  ·1· ·day that they went to Dave's house you haven't seen any
  ·2· ·of those pictures?
  ·3· · · · A.· ·No.
  ·4· · · · Q.· ·On the drive that you -- you threw away you
  ·5· ·wouldn't be able to tell us today one way or another
  ·6· ·whether or not there was Bitcoin wallets or Bitcoin
  ·7· ·information on that drive?
  ·8· · · · A.· ·I was never able to access it.
  ·9· · · · Q.· ·So you wouldn't be able to tell us today
  10· ·whether or not Bitcoin wallets or Bitcoin were on that
  11· ·drive?
  12· · · · · · ·MR. FREEDMAN:· Objection.
  13· · · · · · ·THE WITNESS:· Again I wasn't able to access
  14· · · · it.
  15· ·BY MR. PASCHAL:
  16· · · · Q.· ·Is it a yes or no?
  17· · · · A.· ·Anything could have been on it.
  18· · · · Q.· ·But you wouldn't know?
  19· · · · A.· ·I wouldn't know because I couldn't access it.
  20· · · · Q.· ·And you threw it away?
  21· · · · A.· ·Yes.· It was -- it didn't work.
  22· · · · Q.· ·Just going back.· So when you came in
  23· ·possession of Dave's computers did you have your own
  24· ·personal computer?
  25· · · · A.· ·Yes.


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Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 10 of 29
      IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
      IRA KLEIMAN on 04/08/2019                                              Page 77

  ·1· · · · Q.· ·So why did you format Dave's devices so that
  ·2· ·you could use those computers?
  ·3· · · · A.· ·I guess I needed more storage space.· Maybe my
  ·4· ·computer was full with stuff, other stuff.
  ·5· · · · Q.· ·So sitting here today you can't tell us why
  ·6· ·you decided to use Dave's computers, you're speculating,
  ·7· ·are you?
  ·8· · · · A.· ·Why I couldn't use --
  ·9· · · · Q.· ·Why did you use Dave's computers rather than
  10· ·your own?
  11· · · · A.· ·I put the operating systems on there because
  12· ·my computer might have had a different operating system.
  13· ·For one reason or another I needed to use like Windows 7
  14· ·or Windows 8 so that's why I formated those two and put
  15· ·those operating systems on there.
  16· · · · Q.· ·Why didn't you just get another hard drive or
  17· ·computer?
  18· · · · · · ·MR. FREEDMAN:· Objection.
  19· · · · · · ·THE WITNESS:· His were laying around and
  20· · · · they -- they said they could be formated.
  21· ·BY MR. PASCHAL:
  22· · · · Q.· ·Who said they could be formated?
  23· · · · A.· ·When I plugged them in the pop up screen said
  24· ·that the drives need to be formated.· So that to me that
  25· ·appears that the drives were empty.


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Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 11 of 29
      IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
      IRA KLEIMAN on 04/08/2019                                              Page 78

  ·1· · · · Q.· ·When you had the drive that was broken what
  ·2· ·made you think it was broken?
  ·3· · · · A.· ·It wouldn't turn on.· You didn't hear like the
  ·4· ·platter spinning or anything.
  ·5· · · · Q.· ·Did you ask for any professional help trying
  ·6· ·to get it to start, to turn on?
  ·7· · · · A.· ·No.
  ·8· · · · Q.· ·So just -- you tried turning it on it didn't
  ·9· ·turn on so you threw it away?
  10· · · · A.· ·Yes.
  11· · · · · · ·MR. FREEDMAN:· Objection.
  12· ·BY MR. PASCHAL:
  13· · · · Q.· ·So when you became the personal representative
  14· ·of the estate of Dave Kleiman what steps did you take to
  15· ·preserve the assets of the estate?
  16· · · · A.· ·Well, I reached out to my attorney --
  17· · · · · · ·MR. FREEDMAN:· Ira, if you can answer the
  18· · · · question without revealing what you discussed with
  19· · · · your attorney then answer it.· But don't discuss
  20· · · · anything that you discussed with your attorney.
  21· · · · · · ·MR. PASCHAL:· Your objection is don't talk
  22· · · · about Karp?
  23· · · · · · ·MR. FREEDMAN:· Just discussions with your
  24· · · · lawyer.
  25· · · · · · ·MR. PASCHAL:· Don't tell me about your


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Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 12 of 29
                                      Ira Kleiman
                                    January 10, 2020                             ·

      ·1· · · · · · · · UNITED STATES DISTRICT COURT

      ·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA

      ·3· · · · · · · · ·CASE NO. 9:18-cv-80176-BB/BR

      ·4
      · ·   ·IRA KLEIMAN, as the personal representative
      ·5·   ·of the Estate of David Kleiman, and
      · ·   ·W&K Info Defense Research, LLC,
      ·6
      · ·   · · · · · ·Plaintiffs,
      ·7
      · ·   ·-vs-
      ·8
      · ·   ·CRAIG WRIGHT,
      ·9
      · ·   · · · · · ·Defendant.
      10

      11· ·* * * * * * * * * * * * * * * * * * *

      12· ·VIDEOTAPED DEPOSITION OF IRA KLEIMAN

      13· ·DATE TAKEN: January 10, 2020

      14· ·TIME: 8:49 a.m. - 2:45 p.m.

      15· ·PLACE: 2525 Ponce de Leon Boulevard

      16· ·Miami, Florida 33134

      17
      · · ·TAKEN BEFORE: RICK E. LEVY, RPR, FPR
      18· · · · · · · · ·AND NOTARY PUBLIC

      19

      20· ·* * * * * * * * * * * * * * * * * * *

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Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 13 of 29
                                      Ira Kleiman
                                    January 10, 2020                           34

      ·1· · · · A.· ·It has belongings of some of Dave's, some of
      ·2· ·mine, some of my parents.· Just full of stuff from my
      ·3· ·family.
      ·4· · · · Q.· ·The stuff you have not produced you're not
      ·5· ·prepared to tell us today what hasn't been produced?
      ·6· · · · A.· ·I just told you I didn't turn over his books.
      ·7· · · · Q.· ·Was it just books and certificates?
      ·8· · · · A.· ·For the most part.
      ·9· · · · Q.· ·What else was there?
      10· · · · A.· ·You mean -- are you talking about paper
      11· ·documents or are you talking about like all of his
      12· ·belongings.
      13· · · · Q.· ·Talking about documents.· So this is a
      14· ·physical document.
      15· · · · A.· ·Any piece of paper -- any single piece of
      16· ·paper he may have been attached to?
      17· · · · Q.· ·Yes, every single paper.· I'm going to break
      18· ·it down.· So papers, documents, what did you not
      19· ·produce?
      20· · · · A.· ·Could be like magazines that he had, stuff
      21· ·going back years when he worked for company -- his old
      22· ·companies like Security Doc or something.
      23· · · · Q.· ·Magazines so you thought magazines were
      24· ·important enough to keep?
      25· · · · A.· ·They were important to him.· So I kept them.


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Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 14 of 29




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

     IRA KLEIMAN, as the personal representative of the         CASE NO.: 9:18-cv-80176-BB/BR
     Estate of David Kleiman, and W&K Info Defense
     Research, LLC

                     Plaintiffs,

     v.

     CRAIG WRIGHT,

                     Defendant.



                      PLAINTIFF IRA KLEIMAN’S RESPONSE TO
            DR. WRIGHT’S FIRST REQUEST FOR ADMISSION TO IRA KLEIMAN

            Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure and Rule 26.1 of the

    Local Rules of the Southern District of Florida, Plaintiff Ira Kleiman (“Plaintiff”) hereby serves

    its Response and Objections to Defendant’s First Request for Admissions dated March 2, 2020.

                                          GENERAL OBJECTIONS

            Plaintiff objects to these Requests to the extent they attempt to impose obligations on

    Plaintiff other than those imposed or authorized by the Federal Rules of Civil Procedure, Local

    Rules of the Southern District of Florida, and/or any applicable orders of the Court. Plaintiff

    further objects to these Requests to the extent they are overbroad, vague, ambiguous, or undefined.

    Plaintiff objects to the extent that these Requests lack relevance or proportionality to the needs of

    the case or to the issues at stake.

            Plaintiff also objects to these Requests to the extent they seek the disclosure of documents

    protected from discovery by the attorney-client privilege, the work-product doctrine, and/or any

    other applicable privilege and exemption. Inadvertent disclosure of any privileged or otherwise
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 15 of 29




         30.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in law.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         31.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in economics.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         32.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in statistics.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         33.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in information security.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         34.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in cryptography.

               Response: Objection to the extent that the Request implies that such a Bachelor’s

               degree existed and/or were otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         35.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in software development.



                                                9
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 16 of 29




               Response: Objection to the extent that the Request implies such a Bachelor’s

               degree existed and/or were otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         36.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in project management.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         37.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in engineering.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         38.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in finance.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         39.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in game theory.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         40.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in mathematics.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.



                                               10
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 17 of 29




         41.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in computer science.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         42.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in law.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         43.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in economics.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         44.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in statistics.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         45.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in information security.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         46.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in cryptography.




                                               11
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 18 of 29




               Response: Objection to the extent that the Request implies that such a Master’s

               degree existed and/or were otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         47.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in software development.

               Response: Objection to the extent that the Request implies that such a Master’s

               degree existed and/or were otherwise available to Dave Kleiman. Admitted.

         48.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in project management.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         49.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in engineering.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         50.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in finance.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.

         51.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in game theory.

               Response: Objection. This request seeks information that is not relevant to any

               of the claims or defenses in the case.



                                               12
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 19 of 29




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

     IRA KLEIMAN, as the personal representative of the         CASE NO.: 9:18-cv-80176-BB/BR
     Estate of David Kleiman, and W&K Info Defense
     Research, LLC

                     Plaintiffs,

     v.

     CRAIG WRIGHT,

                     Defendant.


                PLAINTIFF IRA KLEIMAN’S SUPPLEMENTAL RESPONSE
                         TO #’S 28-33, 36-45, 48-57, AND 60-63
          OF DR. WRIGHT’S FIRST REQUEST FOR ADMISSION TO IRA KLEIMAN

            Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure and Rule 26.1 of the

    Local Rules of the Southern District of Florida, and Magistrate Judge Reinhart’s Order overruling

    Plaintiff’s objections to Requests #’s 28-33, 36-45, 48-57 and 60-63, Plaintiff Ira Kleiman

    (“Plaintiff”) hereby serves its Response and Objections to Defendant’s First Request for

    Admissions dated March 2, 2020.

                                          GENERAL OBJECTIONS

            Plaintiff objects to these Requests to the extent they attempt to impose obligations on

    Plaintiff other than those imposed or authorized by the Federal Rules of Civil Procedure, Local

    Rules of the Southern District of Florida, and/or any applicable orders of the Court. Plaintiff

    further objects to these Requests to the extent they are overbroad, vague, ambiguous, or undefined.

    Plaintiff objects to the extent that these Requests lack relevance or proportionality to the needs of

    the case or to the issues at stake.
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 20 of 29




           Plaintiff also objects to these Requests to the extent they seek the disclosure of documents

    protected from discovery by the attorney-client privilege, the work-product doctrine, and/or any

    other applicable privilege and exemption. Inadvertent disclosure of any privileged or otherwise

    protected documents or information shall not be a waiver of any claim of privilege, work-product

    protection, or exemption.

           Plaintiff further objects to all Requests that seek an admission that he has “no documents,

    electronic devices or communications” on two bases. First, this is an attempt to require a search

    for documents that may go beyond what the parties have agreed to for the scope of document

    searches. Second, and independent of the first objection, Plaintiff possesses electronic devices that

    are encrypted and that he cannot access.

           Subject to and without waiving the foregoing General Objections, all of which are

    incorporated as if fully stated herein, Plaintiff responds to the specific Requests as follows:

                          RESPONSES TO REQUESTS FOR ADMISSION

           28.     Admit You have no documents, electronic devices, or communications that show

                   Dave Kleiman received any Bachelor’s degrees in mathematics.

                   Response: Objection to the extent that the Request implies that such a Bachelor’s

                   degree existed and/or was otherwise available to Dave Kleiman. Subject to that

                   Objection, the request is Admitted.

           29.     Admit You have no documents, electronic devices, or communications that show

                   Dave Kleiman received any Bachelor’s degrees in computer science.

                   Response: Objection to the extent that the Request implies that such a Bachelor’s

                   degree existed and/or was otherwise available to Dave Kleiman. Subject to that

                   Objection, the request is Admitted in Part and Denied in Part. Plaintiff has



                                                      2
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 21 of 29




               documents that show that Dave Kleiman was pursuing a Bachelor’s degree in

               computer science. Plaintiff does not have any documents that show whether

               Dave Kleiman ever received that degree.

         30.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in law.

               Response: Objection to the extent that the Request implies that such a Bachelor’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         31.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in economics.

               Response: Objection to the extent that the Request implies that such a Bachelor’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         32.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in statistics.

               Response: Objection to the extent that the Request implies that such a Bachelor’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         33.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in information security.

               Response: Objection to the extent that the Request implies that such a Bachelor’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.



                                               3
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 22 of 29




         36.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in project management.

               Response: Objection to the extent that the Request implies that such a Bachelor’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         37.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in engineering.

               Response: Objection to the extent that the Request implies that such a Bachelor’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         38.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in finance.

               Response: Objection to the extent that the Request implies that such a Bachelor’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         39.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Bachelor’s degrees in game theory.

               Response: Objection to the extent that the Request implies that such a Bachelor’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         40.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in mathematics.




                                               4
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 23 of 29




               Response: Objection to the extent that the Request implies that such a Master’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         41.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in computer science.

               Response: Objection to the extent that the Request implies that such a Master’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         42.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in law.

               Response: Objection to the extent that the Request implies that such a Master’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         43.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in economics.

               Response: Objection to the extent that the Request implies that such a Master’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         44.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in statistics.

               Response: Objection to the extent that the Request implies that such a Master’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.



                                               5
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 24 of 29




         45.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in information security.

               Response: Objection to the extent that the Request implies that such a Master’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         48.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in project management.

               Response: Objection to the extent that the Request implies that such a Master’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         49.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in engineering.

               Response: Objection to the extent that the Request implies that such a Master’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         50.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in finance.

               Response: Objection to the extent that the Request implies that such a Master’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         51.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Master’s degrees in game theory.




                                               6
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 25 of 29




               Response: Objection to the extent that the Request implies that such a Master’s

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         52.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Doctorate degrees in mathematics.

               Response: Objection to the extent that the Request implies that such a Doctorate

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         53.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Doctorate degrees in computer science.

               Response: Objection to the extent that the Request implies that such a Doctorate

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         54.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Doctorate degrees in law.

               Response: Objection to the extent that the Request implies that such a Doctorate

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         55.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Doctorate degrees in economics.

               Response: Objection to the extent that the Request implies that such a Doctorate

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.



                                               7
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 26 of 29




         56.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Doctorate degrees in statistics.

               Response: Objection to the extent that the Request implies that such a Doctorate

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         57.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Doctorate degrees in information security.

               Response: Objection to the extent that the Request implies that such a Doctorate

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         60.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Doctorate degrees in project management.

               Response: Objection to the extent that the Request implies that such a Doctorate

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         61.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Doctorate degrees in engineering.

               Response: Objection to the extent that the Request implies that such a Doctorate

               degree existed and/or was otherwise available to Dave Kleiman. Subject to that

               Objection, the request is Admitted.

         62.   Admit You have no documents, electronic devices, or communications that show

               Dave Kleiman received any Doctorate degrees in finance.




                                               8
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 27 of 29




                  Response: Objection to the extent that the Request implies that such a Doctorate

                  degree existed and/or was otherwise available to Dave Kleiman. Subject to that

                  Objection, the request is Admitted.

           63.    Admit You have no documents, electronic devices, or communications that show

                  Dave Kleiman received any Doctorate degrees in game theory.

                  Response: Objection to the extent that the Request implies that such a Doctorate

                  degree existed and/or was otherwise available to Dave Kleiman. Subject to that

                  Objection, the request is Admitted.




    Dated: April 15, 2020                               Respectfully submitted,


                                                        s/ Andrew Brenner
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                                                  9
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 28 of 29




                                              Counsel to Plaintiffs Ira Kleiman as
                                              Personal Representative of the Estate of
                                              David Kleiman and W&K Info Defense
                                              Research, LLC.




                                         10
Case 9:18-cv-80176-BB Document 529-3 Entered on FLSD Docket 05/22/2020 Page 29 of 29




                                       CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on April 15, 2020 a true and correct copy of the foregoing was

    served on all counsel of record.


                                                      /s/ Andrew S. Brenner
                                                      ANDREW S. BRENNER




                                                 11
